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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 15-1170V
                                    Filed: October 25, 2017
                                        UNPUBLISHED


    AUDREY M. ABBOTT,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Attorneys’ Fees and Costs
    v.

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Daniel Henry Pfeifer, Pfeifer, Morgan & Stesiak, South Bend, IN, for petitioner.
Robert Paul Coleman, III, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS 1

Dorsey, Chief Special Master:

       On October 9, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleged that she suffered a left shoulder injury following
administration of her October 24, 2012 influenza vaccination. On April 12, 2017, the
undersigned issued a decision awarding compensation to petitioner based on the
parties’ stipulation. (ECF No. 40.)

      On October 6, 2017, petitioner filed a motion for attorneys’ fees and costs. (ECF
No. 44.) Petitioner requests attorneys’ fees in the amount of $8,116.60 and attorneys’


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the

undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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costs in the amount of $649.79. 3 (Id. at 1.) In compliance with General Order #9,
petitioner filed a signed statement indicating that petitioner incurred no out-of-pocket
expenses. Thus, the total amount requested is $8,766.39.

        On October 18, 2017, respondent filed a response to petitioner’s motion. (ECF
No. 46.) Respondent argues that “[n]either the Vaccine Act nor Vaccine Rule 13
contemplates any role for respondent in the resolution of a request by a petitioner for an
award of attorneys’ fees and costs.” Id. at 1. Respondent adds, however, that he “is
satisfied the statutory requirements for an award of attorneys’ fees and costs are met in
this case.” Id. at 2. Respondent “respectfully recommends that the Chief Special
Master exercise her discretion and determine a reasonable award for attorneys’ fees
and costs.” Id. at 3. Petitioner filed a reply on October 24, 2017, reiterating the
petitioner’s view that the requested fees and costs are reasonable. (ECF No. 47.)

        In light of all the facts and circumstances of this case, particularly including the
history of expedited resolution within the Special Processing Unit, and mindful of
respondent’s response to the instant application, the undersigned finds upon review of
the submitted billing records and based on the undersigned’s experience evaluating fee
applications in similar Vaccine Act claims that the overall amount sought for attorneys’
fees and costs is reasonable. Thus, especially in the absence of any particularized
objection from respondent, further analysis is not warranted. Special Masters have
“wide latitude in determining the reasonableness of both attorneys’ fees and costs.”
Hines v. HHS, 22 Cl. Ct. 750, 753 (Fed. Cl. 1991). Moreover, Special Masters are
entitled to rely on their own experience and understanding of the issues raised. Wasson
v. HHS, 24 Cl. Ct. 482, 483 (Fed. Cl. 1991) aff’d in relevant part, 988 F.2d 131
(Fed.Cir.1993) (per curiam). J.B. v. HHS, No. 15-67V, 2016 WL 4046871 (Fed. Cl.
Spec. Mstr. July 8, 2016) (addressing attorneys’ fees and costs in the context of a
history of attorneys’ fees and costs awards in over 300 similarly situated SPU cases.)
       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

       Accordingly, the undersigned awards the total of $8,766.39 4 as a lump sum
in the form of a check jointly payable to petitioner and petitioner’s counsel Daniel
Henry Pfeifer, Esq.
3
 This includes $168.85 incurred by the firm of Burnes & Libman reflected in an invoice addressed to
Pfeifer, Morgan & Stesiak. (ECF No. 44-3.)

4This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
                                                    2
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        The clerk of the court shall enter judgment in accordance herewith. 5

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




5 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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